       Case 2:18-cr-00101-GEKP Document 415 Filed 05/26/22 Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :
                                             :
              vs.                            :       Criminal No. 18-101-09
                                             :
WILLIAM DEMEDIO                              :
                                             :

 DEFENDANT DEMEDIO’S MOTION TO JOIN DEFENDANT MITCHELLWHITE’S
             MOTION TO SUSPEND TRIAL DATE

       Defendant William Demedio, by his undersigned counsel,respectfully joins in

Defendant Mitchell White’s Motion to Suspend Trial Date Due to Government Breaches of

Fed. R. Crim. P. 16 and Brady v. Maryland. (ECF No. 410). Dr. Demedio states as follows:

   1. Dr. Demedio joins defendant White’s request to suspend the trial date.

   2. Similar to defendant White, if not for the Government’s late production of evidence, Dr.

       Demedio was fully prepared to begin trial on May 31, 2022.

   3. To elaborate, the Government’s late production of more than 75 hours of audio and video

       recordings includes hours of undercover footage of Dr. Nikpavar-Fard; co-defendant

       Joanne Rivera, who is a critical witness for the Government; and others at Advanced

       Urgent Care. Most of the recordings are from 2017 from a previously undisclosed

       source. The reports related to the recordings indicate that then Assistant United States

       Attorney Jason Bologna was briefed on the recordings and used information obtained

       from the previously undisclosed source to obtain a search warrant to search Dr. Nikpavar-

       Fard’s home.

   4. Additionally, the critical patient interviews that defendant White points out as

       containing clear exculpatory evidence (ECF No. 410 at 5-6) were of a patient who is

       specifically addressed by the Government’s expert witness. Undersigned counsel are
                                                 1
    Case 2:18-cr-00101-GEKP Document 415 Filed 05/26/22 Page 2 of 4



   concerned that there may be other reports and recordings of patient interviews that

   have not yet been produced.

5. The Government’s late productionsalso included more than 300 patient files

   (containing almost 70,000 pages) that were previously “available,” but that the

   Government had refused to reproduce.

6. From counsel’s limited review of these productions to date, it is evident that the

   productions include exculpatory evidence that should have been produced years ago,

   including many instances showing Advanced Urgent Care was providing care to patients.

   This newly produced evidence will require additional follow-up with the Government to

   ensure that nothing else has been withheld and through other investigatory avenues to

   adequately prepare a defense.

7. In fact, as of this writing, the Government still has not provided basic additional

   information about this newly disclosed source that other counsel requested at the May

   12, 2022 hearing, such as whether the source had a cooperation agreement or was paid.

   Reports related to the source further indicate that the Government could have intervened on the

   source’s behalf in state criminal proceedings or assisted him in obtaining drug rehabilitation

   treatment. But the Government has yet to provide any additional information about the source.

8. As defendant White noted, this is not the first time the Government has dumped material

   on the defendants at the last minute, except that this situation is even more egregious than

   what occurred in February 2020 before the April 2020 trial date, because the Government

   had two additional years to “find” this discovery, the volume of discovery produced is far

   more extensive, the discovery includes exculpatory evidence, and the trial date was even

   closer in time.

9. Thus, Dr. Demedio joins in defendant White’s incredulity that the Government could

                                                2
        Case 2:18-cr-00101-GEKP Document 415 Filed 05/26/22 Page 3 of 4



        claim it is ready to proceed to trial on May 31, 2022. It is equally incredulous that the

        Government represented to the Court in January 2022 that it was ready for trial, when all

        of this evidence had been withheld, and then waited four more months to produce it. Dr.

        Demedio agrees that he, too, should not bear responsibility under the Constitution or the

        Speedy Trial Act for a continuance when it is the Government’s actions that necessitated

        this request.

    10. Dr. Demedio waives neither his Sixth Amendment rights to a speedy trial nor his Fifth

        Amendment rights to due process and the effective assistance of counsel. It is now

        impossible for these fundamental rights to be met fairly. Like defendant White, Dr.

        Demedio plans to file a motion to dismiss the superseding indictment, and respectfully

        requests that the May 31 trial date be suspended while the motion is prepared.

FOR ALL OF THESE REASONS, defendant respectfully requests that Defendant Mitchell

White’s Motion to Suspend Trial Date Due to Government Breaches of Brady v. Maryland and Fed.

R. Crim. P. 16 be granted and that an ends of justice continuance is not warranted due to the

Government’s pattern of a lack of diligence.


Date: May 26, 2022
                                                             Respectfully submitted,
                                                             /s/     Kevin T. Birley
                                                             Kevin T. Birley, Esq.




                                                  3
        Case 2:18-cr-00101-GEKP Document 415 Filed 05/26/22 Page 4 of 4




                                 CERTIFICATE OF SERVICE
      I certify that a copy of the Defendant William Demedio’s Motion To Join was served by e-
filing and e-mail, on the following government and co- defendant counsel:

AUSA Christopher Parisi
AUSA Mary Kay Costello




/s/     Kevin T. Birley
Kevin T. Birley, Esq.
Date: May 26, 2022




                                               4
